Case 3:24-cv-00080-HEH          Document 99        Filed 06/04/25     Page 1 of 3 PageID# 1181




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                          Richmond Division

KEVIN JOHNSON,                        )
                                      )
       Plaintiff,                     )
                                      )
v.                                    )                       Civil Action No. 3:24cv00080-HEH
                                      )
VIRGINIA DEPARTMENT OF                )
CORRECTIONS, et al.,                  )
                                      )
       Defendants.                    )
                                      /

                DEFENDANTS’ REPLY IN OPPOSITION TO PLAINTIFF’S
              MOTION AND REQUEST FOR EMERGENCY HEARING (ECF 98)

       Defendants Blaha, Bowles, Cabell, Creech, Dotson, Hall, McCoy, Monihan, Robinson,

Smith, Trent, the Virginia Department of Corrections, Wallace, and White state in opposition to

Plaintiff’s “Motion and Request for an Emergency Hearing on Defendants’ Breach of Settlement

Agreement” (ECF 98):

                                             Background

       Plaintiff Kevin Johnson, a Virginia inmate represented by counsel, initiated this civil

rights action on February 5, 2024, against VDOC and 13 individual defendants. He sought

monetary and injunctive relief including an order that he be transferred from Red Onion State

Prison to a prison in VDOC’s Eastern or Central Region. On December 4, 2024, the parties

participated in a continued mediation conference with Judge Colombell and reached a settlement

of all claims in this matter. On December 5, 2024, Plaintiff, through his counsel, filed the fully

executed settlement agreement (“Settlement Agreement”). (ECF 87-1).
Case 3:24-cv-00080-HEH          Document 99           Filed 06/04/25   Page 2 of 3 PageID# 1182




       On June 2, 2025, Plaintiff filed, pro se, a “Motion and Request for an Emergency Hearing

on Defendants’ Breach of Settlement Agreement.” (ECF 98). In the motion, Johnson stated that he

had been transferred to the South Carolina Department of Corrections (“SCDC”) “based upon”

the Settlement Agreement and the Interstate Corrections Compact (“ICC”). He contended that

his rights, while housed at SCDC, were violated. As relief, Johnson requested the Court to

conduct a hearing “to find defendants and defense counsels in substantial breach” of the

Settlement Agreement, order Defendants to uphold his “rights under the ICC,” or order his

transfer from SCDC to VADOC’s Keen Mountain Correctional Center. (ECF 98 pp.1, 5).

                                           ARGUMENT

       Johnson’s motion should be denied.

       As the Court noted in denying Johnson’s pro se Motion/Petition for Contempt (ECF 93),

“‘[a] district court has no obligation to entertain pro se motions filed by a represented party.’”

(ECF 96 p.2) (quoting Abdullah v. United States, 240 F.3d 683, 686 (8th Cir. 2001) (italics added

by this Court); (citing United States v. Hammond, 821 F. App’x 203, 2027 (4th Cir. 2020)).

Johnson is represented by three attorneys, a law firm, and Rights Behind Bars, yet he filed his

motion pro se. For this reason alone, Johnson’s motion may be denied.

       Moreover, Johnson’s motion lacks merit. Although Johnson argues that defendants and

their counsel have breached the Settlement Agreement, he has not identified any term that has

been violated. His argument that his rights under the ICC have been breached is unavailing.

Contrary to Johnson’s contention, the ICC was not incorporated into the Settlement Agreement.

See Settlement Agreement (ECF 87-1). Defendants have not breached the Settlement

Agreement. Johnson’s motion should be denied.




                                                  2
Case 3:24-cv-00080-HEH          Document 99           Filed 06/04/25     Page 3 of 3 PageID# 1183




                                            Conclusion

        For these reasons, Johnson’s motion should be denied.

                                               Respectfully submitted,

                                               /s/ D. Patricia Wallace
                                               D. Patricia Wallace, VSB #92964
                                               Assistant Attorney General
                                               Office of the Attorney General
                                               Criminal Justice & Public Safety Division
                                               202 North 9th Street
                                               Richmond, Virginia 23219
                                               Tel.: 804-786-2912; Fax: -4239
                                               E -mail: pwallace@oag.state.va.us
                                               (Counsel for Defendants)



                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 4, 2025, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system, which will send a notification of such filing (NEF) to

counsel for Plaintiff.


                                               s/ D. Patricia Wallace
                                               D. Patricia Wallace, VSB #92964
                                               Assistant Attorney General




                                                  3
